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 5
 6   Attorney for Defendant
     HUNG CAO NGUYEN
 7
 8                                               UNITED STATES DISTRICT COURT
 9
                                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                 )                    USDC CASE NO. 2:12-cr-0309-JAM
12                                             )
                       Plaintiff,              )                    STIPULATION AND
13                                             )                    ORDER REGARDING MODIFICATION
           v.                                  )                    OF BOND
14                                             )
     HUNG CAO NGUYEN,                          )
15
     NATHAN V. HOFFMAN, et al.,                )
16                                             )
                       Defendants.             )
17   __________________________________________)
18
               COME NOW the United States Attorney Benjamin B. Wagner, by and through Assistant United
19
     States Attorney Jason Hitt, and Hung Cao Nguyen, by and through his counsel of record Donald M. Ré, who
20
     hereby stipulate as follows:
21
22             1. That the conditions of the defendant Nguyen’s bond shall be amended to release as security from

23   the bond, the real property owned by Brian Nguyen, at 14141 Glitter Street, Westminster, California 92683,
24   currently posted as security for the bond pursuant to the attached Deed of Trust;
25
               2. That the Clerk of the United States District Court for the Eastern District of California, at
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     Sacramento, shall issue a full reconveyance of such Deed of Trust to Brian Nguyen, a single man, and shall
27
28   thereafter record the full reconveyance with the County Recorder of the County of Orange.

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 1             This Stipulation is occasioned by the following:
 2
               1. The defendant’s brother, Brian Nguyen, who currently acts as co-signor on the bond, is desirous
 3
     of refinancing the mortgage currently attached to the property at 14141 Glitter Street, Westminster,
 4
     California 92683, and has requested that the attached Deed of Trust be removed from that property.
 5
 6             2. The defendant Hung Nguyen, at the time that he learned that a Criminal Complaint had been filed

 7   in this district, traveled from Los Angeles, California to Sacramento, for the purpose of surrendering on that
 8   Complaint. He in fact did surrender on or about October 7, 2011, at which time a $100,000 unsecured
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     appearance bond was executed by the defendant, and later secured in part by the real property in question.
10
               3. Defendant Nguyen has made all court appearances required of him in this matter, and has
11
12   maintained constant contact with his undersigned counsel.

13             IT IS SO STIPULATED.

14   Dated: February 25, 2013                                               /s/ Donald M. Ré ______
                                                                           JASON HITT
15
                                                                           Assistant U.S. Attorney
16                                                                         Authorized to sign for
                                                                           AUSA JASON HITT
17
18
19   Dated: February 25, 2013                                              /s/ Donald M. Ré_______________
                                                                           DONALD M. RÉ, ESQ.
20                                                                         Counsel for Defendant
                                                                           HUNG NGUYEN
21
22
23                                                                    ORDER
24   IT IS SO ORDERED.
25
26   Dated: 2/26/2013                                               /s/ John A. Mendez
                                                                    HONORABLE JOHN A. MENDEZ
27                                                                  United States District Court Judge
28

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